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; Page ID #:69
AO 93 (Rev, 11/13) Search and Seizure Warrant (USAO CDCA Rev. 04/17}

 

UNITED STATES DISTRICT COURT

for the
Central District of California

 

In the Matter of the Search of

(Briefly describe the property to be searched or identify the
person by name and address)

Case No. 2:19-MJ-03857

'

510 N. Bonhill Road
Los Angeles, California 90049

Sa ee ee ee nee ee ee Le

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

See Attachment A

I find that the affidavit(s}, or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B

Such affidavit(s) or testimony are incorporated herein by reference.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
[] in the daytime 6:00 a.m. to 10:00 p.m. (J at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office,

in Pursuant to 18 U.S.C. § 3103.a(b), | find that immediate notification may have an adverse result listed in 18 U.S.C,
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (cheek the appropriate box)

[] for days (not io exceed 30) (_] until, the facts justifying, the later specific date of

Date and time issued: Sept 13, 20/9 ES pia je Prerk ete

Judge 's signature

 

City and state: Los Angeles, CA Honorable Jean P. Rosenbluth

Printed name and title

 

AUSA: Ashwin Janakiram x2875
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AO 93 (Rev, 11/13) Search and Seizure Warrant (Page 2) Page ID #70
Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
2:19-MJ-03857 att 6 IG TKI am Leah

 

 

 

Inventory made in the presence of :

Asby buen

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

{ declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

‘| Date: HOLDS pot

 

Executing officer’s signature

Rott thar SPetool alerr

Printed name and title

 

 

 
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